The question to be decided in this case is whether an attorney at law is entitled to the exemptions in case of levy of execution for indebtedness under Section 11725, General Code, as amended (111 Ohio Laws, 386). Said section reads:
"Every person, who lives with and is the head and sole support of a family, and every widow, may hold property exempt from execution, attachment or sale, for debt, damage, fine or amercement, as follows: * * *
"5. The tools and implements of the debtor necessary for carrying on his or her profession, trade or business, including agriculture * * *."
In the court below a motion was made and sustained declaring the defendant in error, an attorney at law, entitled to exemptions under above section, where the property involved is a law *Page 517 
library and other chattels in his law office necessary for the carrying on of his profession. Obviously the purpose of the statute is not to deprive persons designated therein of the use of the instrumentalities by which a living is made, for that would be contrary to the principles of public policy and would deprive the head of a family, engaged in a profession, whether a man or a woman, from using those means which are necessary for self support and support of the family. It must also have been recognized by the Legislature that this deprivation would not only impair, and possibly destroy, the means of maintenance, but would deprive the creditor of the very sources of production which would result in the payment of indebtedness.
The argument is made with much force by counsel for plaintiff in error that books and office furniture cannot, under the fundamental definitions pertaining to the words "tools and implements," be denominated and designated as such, as from their very nature the latter words imply chattels which are mechanical contrivances in nature. We think, however, a more liberal view is warrantable under the construction which is applicable to the statute. We think they are used in the sense of instrumentalities necessary for the carrying on of the profession. To hold a different view would be to entertain a strained construction, for a library is just as necessary to a lawyer in carrying on the profession of law as a sewing machine is to a tailor who makes clothes.
When the statute was amended in 1925, the word "profession" was inserted. Obviously the law is a profession, and lawyers are engaged in *Page 518 
the profession of law, and a library is part of the necessary equipment for the proper and successful practice of that profession.
Section 11726 used to contain a specific exemption to physicians, and upon its repeal paragraph 5 of Section 11725, including persons engaged in a profession, was enacted. This amendment did not narrow or deny the rights of physicians, but it preserved their exemptions as they existed prior to the amendment. Law books are clearly an instrument necessary for the successful practice of law, and we think that the words "tools and implements," as they are used in the context of the amendment, may well mean those chattels which constitute the instrumentality by which an attorney practices law.
In the case of Dittey, Receiver, v. Ellifritz, 8 C.C., 278, 283, 4 C.D., 465, the court, speaking on the subject of homestead exemptions, specifically defines the method by which the statute bearing thereon must be construed, by use of the following language: "But we can give this statute no such construction, but must construe it according to its purpose and intent, and give it the liberal construction in favor of those for whose benefit it was intended * * *."
And, further, the court says at page 285 (4 C.D., 469): "Principle and good sense, in view of all the facts, must determine the case at bar as well as all other cases where statutory construction is sought, and all mere technical objection, founded on words only, should be swept aside as cobwebs, where they tend to work injustice and wrong." *Page 519 
We think this rule of construction is applicable to the specific question raised in this case.
Further, we quote the following definitions of the words "tools and implements," which appear to be consistent with the views herein expressed as to the purpose, intent and meaning of the statute as amended:
In Webster's American Dictionary (1875), one meaning given for the word "tool" was "any instrument of use or service," and the word "instrument" was defined as:
"1. That by which work is performed or anything is effected * * *.
"4. One who, or that which, is made a means, or caused to serve a purpose."
And "implement" was defined in the same edition as "whatever may supply a want."
In Webster's Imperial Dictionary (1910) one meaning of the word "tool" was "anything used in one's vocation or pursuit; as literary tools (books), etc."
And the word "implement" was therein defined as "whatever may supply a want; especially, an instrument, tool, utensil, vessel, or the like."
In Webster's New International Dictionary (1925) one meaning of the word "tool" is: "In a wide sense, tool may be used to include almost any implement or object used in performing an operation or carrying on work of any kind. * * * In this use, as in statutes exempting instruments of earning a livelihood, etc., tool has been held to designate books, a horse and wagon, a piano, a printing press, a sewing machine," etc.
"2. Law. Any instrument or apparatus necessary *Page 520 
to a person in the efficient prosecution of his trade or calling. * * *
"4. Any instrument of use or service."
Holding these views, the judgment of the lower court is hereby affirmed and judgment rendered for the defendant in error.
Judgment affirmed.
LEVINE, P.J., and VICKERY, J., concur.